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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )           8:04CR447
                     Plaintiff,                    )
                                                   )
       vs.                                         )              ORDER
                                                   )
ROGELIO RIOS-LOPEZ and                             )
VICTOR JOSE BARRAZA CAZARES,                       )
                                                   )
                     Defendant.                    )


       This matter is before the court on the motion to continue trial by defendant Rogelio
Rios-Lopez (Rios-Lopez) (Filing No. 83). Rios-Lopez seeks a continuance of the trial past
the scheduled May 31, 2005 trial date. A waiver has been filed wherein the defendant
acknowledges he understands the additional time may be excludable time for the purposes
of the Speedy Trial Act (Filing No. 84). Upon consideration, the motion will be granted.


       IT IS ORDERED:
       1.     Rios-Lopez's motion to continue trial (Filing No. 83) is granted.
       2.     Trial of this matter is scheduled for June 20, 2005, before Chief Judge Joseph
F. Bataillon and a jury. The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional time
arising as a result of the granting of the motion, i.e., the time between May 9, 2005 and June
20, 2005, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reason that defendant's counsel requires additional time to
adequately prepare the case. The failure to grant additional time might result in a miscarriage
of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 9th day of May, 2005.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
